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                             UNITED STATES DISTRICT COURT
   •                            DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                         :       Honorable Douglas Arpert

             v.                                  :       Mag. No. 12-2547 (DA)

SEAN RUBLOWITZ

                                                         ORDER FOR CONTINUANCE


       •   This matter having been opened to the Court by Paul J. Fishman, United States Attorney for

the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Aorney, appearing), and

defendant SEAN RUBLOWITZ (Aidan P. O’Connor, Esq., appearing), for an order granting a

continuance of the proceedings in the above-captioned matter; and no continuances having

previously been granted; and the defendant being.aware that he has the right to have the matter

presented to a Grand Jury within thirty (30) days ofthe date of his arrest pursuant to Title 18 U.S.C.

§ 3161; and the defendant through his attorney having waived such rights and consented to the
continuance; and for good and sufficient cause shown,

           IT IS THE FiNDING OF THIS COURT that this action should be continued for the

following reasons:

                   1. Plea negotiations currently are in progress, and both the United States and the

           defendant desire additional time to enter a plea in Court, which would thereby render trial

           of this matter unnecessary.

                  2. Defendant has consented to the aforementioned continuance.

                  3. The grant of a continuance will likely conserve judicial resources.

                  4. Pursuant to.Title 18 of the United States Code, Section 3161(h)(7)(A), the ends

           ofjustice served by granting the continuance outweigh the best interests ofthe public and the

           defendants in a speedy trial.
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        WHEREFORE, on this           day of_________ 2012;

        ORDERED that the proceedings in the above-captioned matter are continued from July 16,

 2012 through September 14, 2012; and it is further

        ORDERED that the period between from July 16. 2012 through September 14, 2012 shall

 be excludable in computing time under the Speedy Trial Act of 1974.




                                      HON. DOUGLAS ARPERT
                                      United States Magistrate Judge




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  DAN P. OCO\\OR, Esq.
Counsel for Deter aint Sean Rublowitz
